Case 1:16-cv-00671-RM-NRN Document 1 Filed 03/22/16 USDC Colorado Page 1 of 31




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


  Civil Case No. 16-cv-00671

  ISABEL VALVERDE; and those similarly situated

         Plaintiffs,
  v.

  XCLUSIVE STAFFING, INC.;
  XCLUSIVE MANAGEMENT, LLC D.B.A. XCLUSIVE STAFFING;
  XCLUSIVE STAFFING OF COLORADO, LLC;
  DIANE ASTLEY;
  OMNI INTERLOCKEN COMPANY, L.L.C.;
  OMNI HOTELS MANAGEMENT CORPORATION;
  SELECT HOTELS GROUP, L.L.C. D.B.A. HYATT HOUSE DENVER TECH CENTER
  D.B.A. HYATT PLACE DENVER TECH CENTER; and
  MARRIOTT INTERNATIONAL, INC.

         Defendants.


                       CLASS AND COLLECTIVE ACTION COMPLAINT


                                 INTRODUCTORY STATEMENT

         Xclusive Staffing is a Colorado-based staffing agency composed of a conglomerate of

  entities in at least 10 states. In large part, Xclusive provides low paid hourly employees to hotels,

  including many in the Denver Metro area, like Defendants Omni, Hyatt, and Marriott. The entire

  operation is 100% owned and operated by Defendant Diane Astley from Xclusive’s

  Westminster, Colorado corporate office.

         Xclusive is a serial violator of federal and state wage and hour laws. Since 2011, the

  United States Department of Labor has found Xclusive in violation of federal minimum wage
Case 1:16-cv-00671-RM-NRN Document 1 Filed 03/22/16 USDC Colorado Page 2 of 31




  and overtime laws on at least five occasions. After these investigations, Xclusive promised to

  conform. But its blatant violations continue.

         Most egregiously, Xclusive forces its employees to pay to get paid: deducting $3.00 from

  each pay check for the cost of issuing the check. Xclusive also systematically fails to

  appropriately track its employees’ time, automatically deducting 30 minutes each day for lunches

  while often not permitting a lunch break and failing to provide the 10 minute breaks required by

  Colorado law. Xclusive does all of this while advertising on its website that it “exceed[s]

  industry standards” in complying with “federal, state and local laws.”

         Meanwhile, clients of Xclusive (including Defendants Omni, Hyatt, and Marriott) are

  hoping to relieve themselves of their legal obligations to their employees by hiring Xclusive to

  act as an intermediary between them and their workers. Luckily, the law will not permit such a

  sleight of hand and these clients should be held to account.

         Xclusive accepts the incidental cost of occasional wage and hour compliance actions by

  government agencies as a cost of doing business, while persisting with wage and hour violations

  in its sprawling operation. Here, Plaintiff Valverde, a victim of these policies, seeks to hold

  Xclusive, Defendant Astley, and Xclusive’s clients accountable to him and his fellow workers.

                                   JURISDICTION AND VENUE

  1.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331 (federal

  question), and supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over Plaintiff’s related

  claim under state law.

  2.     Venue is proper pursuant to 28 U.S.C. § 1391 because all of the defendants reside, or are

  registered to do business in, Colorado.


                                                    2
Case 1:16-cv-00671-RM-NRN Document 1 Filed 03/22/16 USDC Colorado Page 3 of 31




                                              PARTIES

  3.     At all times material to the allegations of the complaint, the Plaintiff was domiciled in the

  District of Colorado.

  4.     The Plaintiff signed a written consent to be a named Plaintiff in a Fair Labor Standards

  Act collective action and the signed consent is attached to this Complaint as Exhibit 1.

  5.     At all times material to the allegations of the complaint, Defendant XCLUSIVE

  STAFFING, INC. (hereinafter “Xclusive”) was a Colorado corporation with its principal place of

  business in the District of Colorado.

  6.     At all times material to the allegations of the complaint, Defendant XCLUSIVE

  MANAGEMENT, LLC D.B.A. XCLUSIVE STAFFING (hereinafter “Xclusive Management”)

  was a Colorado limited liability company with its principal place of business in the District of

  Colorado.

  7.     At all times material to the allegations of the complaint, Defendant XCLUSIVE

  STAFFING OF COLORADO, LLC (hereinafter “Xclusive Colorado”) was a Colorado limited

  liability company with its principal place of business in the District of Colorado.

  8.     At all times material to the allegations of the complaint, Defendant OMNI

  INTERLOCKEN COMPANY, L.L.C was a Delaware limited liability company registered to do

  business in Colorado.

  9.     At all times material to the allegations of the complaint, Defendant OMNI HOTELS

  MANAGEMENT CORPORATION was a Delaware corporation registered to do business in

  Colorado.




                                                   3
Case 1:16-cv-00671-RM-NRN Document 1 Filed 03/22/16 USDC Colorado Page 4 of 31




  10.    Defendants OMNI INTERLOCKEN COMPANY, L.L.C and OMNI HOTELS

  MANAGEMENT CORPORATION shall hereinafter collectively be referred to as the “Omni

  Defendants.”

  11.    Upon information and belief, based on the hotel’s website and a search of the Colorado

  Secretary of State’s records, the Omni Defendants own and operate the Omni hotel located at 7

  500 Interlocken Blvd, Broomfield, CO 80021 (hereinafter, the “Omni Interlocken”).

  12.    At all times material to the allegations of the complaint, Defendant SELECT HOTELS

  GROUP, L.L.C. D.B.A. HYATT HOUSE DENVER TECH CENTER D.B.A. HYATT PLACE

  DENVER TECH CENTER (hereinafter “Hyatt”) was a Delaware limited liability company

  registered to do business in Colorado.

  13.    Upon information and belief, based on the hotel’s website and a search of the Colorado

  Secretary of State’s records, Defendant Hyatt owns and operates the Hyatt hotel located at 7800

  E Tufts Ave, Denver, CO 80237 (hereinafter, the “Hyatt Denver Tech Center”).

  14.    At all times material to the allegations of the complaint, Defendant MARRIOTT

  INTERNATIONAL, INC. (hereinafter “Marriott”) was a Delaware corporation registered to do

  business in Colorado.

  15.    Upon information and belief, based on the hotel’s website and a search of the Colorado

  Secretary of State’s records, Defendant Marriott owns and operates the Marriott hotel located at

  4900 S. Syracuse Street Denver Colorado 80237 (hereinafter, the “Marriott Denver Tech

  Center”).

  16.    At all times material to the allegations of the complaint, Defendant Astley was a natural

  person domiciled in the District of Colorado.


                                                  4
Case 1:16-cv-00671-RM-NRN Document 1 Filed 03/22/16 USDC Colorado Page 5 of 31




                                        STATEMENT OF FACTS

  I.    Xclusive

  17.       Xclusive is a staffing agency based in Colorado that is 100% owned by Defendant

  Astley.

  18.       Xclusive’s corporate headquarters is in Westminster, Colorado.

  19.       Xclusive operates in at least 10 other states using subsidiary entities in each state.

  20.       Xclusive operates subsidiaries in Colorado, New Mexico, Texas, Kansas, Louisiana,

  Indiana, Tennessee, Kentucky, Ohio, and Florida.

  21.       Xclusive uses Xclusive Management to manage these state subsidiaries and their

  employees.

  22.       Xclusive Colorado is a Colorado subsidiary of Xclusive.

  23.       All of these entities are under common control because they are all 100 percent owned

  and operated by Defendant Astley.

  24.       All of these entities are also a unified operation because they are all are advertised as a

  single operation at www.xclusivestaffing.com and they all do business as Xclusive Staffing.

  25.       All of the entities provide the same service to clients: providing low wage hourly

  personnel. Most of Xclusive’s clients are hotels, like Defendants Omni, Hyatt and Marriott. But

  Xclusive also provides its services to convention centers, timeshares, warehouses, stadiums,

  hospitals, office buildings, catering companies, amusement parks, and schools.

  26.       Xclusive Describes itself as follows on its website:

                   In 2002, Xclusive Staffing began as a small Denver-based firm
                   specializing in housekeeping services for local hotels. Xclusive
                   Staffing was born out of our experience as “the user” of temporary
                   staffing agencies. With many years of hotel experience among us,

                                                      5
Case 1:16-cv-00671-RM-NRN Document 1 Filed 03/22/16 USDC Colorado Page 6 of 31




                our executives and managers understood the challenges of working
                with outside staffing firsthand. Based on our past struggles we
                collectively created a unique model of providing quality employees
                centered on the client’s needs.

                The past 13 years have proved that our vision of creating a new
                model of staffing was sorely needed. Xclusive Staffing has
                expanded from one location to 25 regional offices in 11 states
                largely on our reputation of doing things differently than the
                “typical staffing agency.” We are a 100% female-owned
                company and remain committed to the highest levels of integrity in
                our business. We treat our employees with respect and in turn they
                deliver top-notch customer service.

                We are trailblazers in our industry because we share the same
                values as our clients when it comes to staffing. Our focus on
                quality, consistency, and reliability has allowed us to build long-
                term partnerships. We understand the pressure that hoteliers face
                every day and we want to be that partner you can count on. We
                speak and understand the same “language” that hoteliers speak
                regarding standards, guest expectations, and competition.

                Now, Xclusive Staffing is the industry leader and trusted partner of
                hundreds of clients across the country. As the preferred partner of
                multiple national hotel brands, facilities management companies
                and hotel management companies, we are excited to share our
                passion with you. We care about your challenges like they are our
                own because we have been in your shoes.

  27.    Xclusive’s operations throughout the country are controlled centrally out of its

  Westminster, Colorado headquarters. The branch offices fax and email timesheets and employee

  paperwork to the corporate office, and the corporate office sends payroll checks by FedEx to the

  branch offices weekly.

  28.    In an enforcement action ending in January of 2014, the United States Department of

  Labor’s Wage and Hour Division found that Ms. Astley creates policies affecting all of the

  branches.




                                                  6
Case 1:16-cv-00671-RM-NRN Document 1 Filed 03/22/16 USDC Colorado Page 7 of 31




  29.    All pay stubs issued to every employee out of every branch are issued by “XCLUSIVE

  STAFFING.”

  30.    Xclusive’s clients also rely on and help control the work of the workers provided by

  Xclusive. The USDOL has found that Xclusive employees are an integral part of the clients’

  business activities, providing large numbers of housekeeping, cooking, room attendant, and other

  operational staff. Moreover, client supervisors take part in training, controlling, and inspecting

  the work of Xclusive’s employees.

  31.    While Xclusive is responsible for compensating its employees, its employees’ work

  directly benefits Xclusive’s clients, and Xclusive’s clients compensate Xclusive for providing the

  employees.

 II.    Mr. Valverde was Employed by Xclusive

  32.    Mr. Valverde entered into a service contract or contracts with Xclusive.

  33.    Mr. Valverde first worked for Xclusive from in or about the Fall of 2010 to in or about

  the late Winter or Spring of 2011. During that time, Mr. Valverde worked at the following hotels

  that were clients of Xclusive or one of its subsidiaries:

             i.      Ameristar Blackhawk

             ii.     Crowne Plaza Denver Airport Convention Center

             iii.    Hyatt Regency Denver at Denver Convention Center

             iv.     Hyatt Denver Tech Center

             v.      Omni Interlocken

             vi.     The Denver Convention Center




                                                    7
Case 1:16-cv-00671-RM-NRN Document 1 Filed 03/22/16 USDC Colorado Page 8 of 31




  34.    Mr. Valverde then worked again for Xclusive from the Fall of 2014 to the Winter of

  2015. During that time, Mr. Valverde worked at the following hotels that were clients of

  Xclusive or one of its subsidiaries:

             i.      Ritz Carelton, Denver

             ii.     Marriott Denver Tech Center

             iii.    Omni Interlocken

             iv.     Hyatt Denver Tech Center

  35.    At every hotel, Mr. Valverde worked as a cook or prep cook. Sometimes, when things

  were busy, he would also help serve. At the Colorado Convention Center, he also sometimes

  worked as a cleaner.

  36.    During his second stint with Xclusive – from the Fall of 2014 to the Winter of 2015 – Mr.

  Valverde frequently worked overtime. In particular, he remembers working a lot of overtime

  during November and December of 2014 because he helped to cater many holiday parties.

  37.    Attached as Exhibit 2 is one weekly paystub from this period where Mr. Valverde

  worked overtime during a week that he worked at the Omni Interlocken, the Marriott Denver

  Tech Center, and the Hyatt Denver Tech Center.

III.    Xclusive’s Pay Practices

  38.    Xclusive’s website advertises compliance “federal, state and local laws” and ensures its

  customer that it takes these laws “extremely seriously” and that “[w]e exceed the industry

  standards to ensure your protection.”

  39.    In addition, the website claims that Xclusive has “[f]ull compliance with overtime laws.”




                                                   8
Case 1:16-cv-00671-RM-NRN Document 1 Filed 03/22/16 USDC Colorado Page 9 of 31




  40.     Despite these promises, Xclusive maintains policies that violate state and federal wage

  and hour laws.

        A. The $3.00 Weekly Deduction and Other Deductions Primarily for the Benefit of the
           Employer

  41.     $3.00 was deducted from every paycheck Mr. Valverde received from Xclusive as an

  administrative charge to cover the cost of issuing the paycheck.

  42.     Mr. Valverde complained about the deduction, and an agent of Xclusive told him that it

  was necessary because Xclusive had to recoup the $3.00 cost of issuing his paychecks.

  43.     Xclusive also deducts other expenses from wages that are primarily for the benefit of the

  employer, including clothing, name tags, criminal background checks, and tools or other

  equipment necessary for the employee’s work.

  44.     Mr. Valverde talked to various other Xclusive employees at the various hotels where he

  worked and they complained of the same deductions.

  45.     A 2011 enforcement action against Xclusive by the USDOL Wage & Hour Division in

  Texas found that Xclusive “deducted $3.00 per paycheck as a processing fee and made other

  deductions for things such as uniforms, name badges and background checks.”

  46.     The paystub attached as Exhibit 2 reflects the $3.00 deduction (labeled “FEE”) during the

  work week described by the paystub. The paystub also reflects deductions for a criminal

  background check, a name tag, a kitchen uniform, and kitchen tools during the year to date.

        B. Automatic 30 Minute Meal Deductions

  47.     At every hotel where Mr. Valverde worked, Xclusive automatically deducted 30 minutes

  from his time each day for lunch.

  48.     Sometimes Mr. Valverde would get a 30 minute break.

                                                  9
Case 1:16-cv-00671-RM-NRN Document 1 Filed 03/22/16 USDC Colorado Page 10 of 31




  49.     But most days he would not get a 30 minute break, and would instead be doing his

  normal work during the unpaid 30 minutes.

  50.     On some occasions, Mr. Valverde was ordered to indicate the 30 minute break on his

  time sheet and then ordered to get back to work.

  51.     On some occasions, Mr. Valverde saw an agent of Xclusive indicate the 30 minute break

  on his timesheet even though he did not take it.

  52.     Mr. Valverde talked to his coworkers about this policy and they also complained about

  the same thing happening to them.

  53.     Mr. Valverde had 30 minutes deducted on the days he worked in the paystub attached as

  Exhibit 2 and worked doing his normal duties during at least some of the time that was deducted.

  54.     A 2012 enforcement action against Xclusive by the USDOL Wage & Hour Division at

  the Grand Hyatt in Denver Colorado found that Xclusive “did not count missed lunch breaks.”

  55.     A 2014 enforcement action against Xclusive by the USDOL Wage & Hour Division at

  the Hampton Inn & Suites in Denver Colorado found that lunches were “auto-deducted even

  when the employee worked.”

        C. Failure to Provide 10 Minute Breaks

  56.     The Colorado Wage Order provides that “[a] compensated ten (10) minute rest period for

  each four (4) hours or major fractions thereof shall be permitted for all employees.”

  57.     During his time working for Xclusive, Mr. Valverde did not receive any 10 minute rest

  breaks, except at the Hyatt Regency Denver and at the Denver Convention Center.

  58.     At those two hotels, managers that worked for the hotel and convention center, rather

  than the Xclusive supervisor, required the breaks.


                                                     10
Case 1:16-cv-00671-RM-NRN Document 1 Filed 03/22/16 USDC Colorado Page 11 of 31




  59.    No other person who managed Mr. Valverde during his time at Xclusive permitted the 10

  minute breaks.

  60.    Mr. Valverde did not receive 10 minute breaks during the week represented by the

  paystub attached as Exhibit 2.

 IV.    The USDOL Wage & Hour Division Investigations

  61.    Xclusive has been investigated several times by the USDOL Wage & Hour Division for

  minimum wage and overtime violations.

  62.    Below is a table summarizing USDOL Wage & Hour Division’s recent history with

  Xclusive:

                 Year                         Location                          Finding
                                                                      Minimum Wage and Overtime
                 2011                    Albuquerque, NM
                                                                               Violations
                                                                       Minimum Wage, Overtime,
                 2011                      Grapevine, TX
                                                                      and Recordkeeping Violations
                 2012                        Tampa, FL                  Minimum Wage Violation
                                                                       Minimum Wage, Overtime,
                 2012                        Denver, CO
                                                                      and Recordkeeping Violations
                                                                      Overtime and Recordkeeping
                 2014                        Denver, CO
                                                                               Violations


  V.    Xclusive’s Pattern of Racketeering

              A. The Astley Enterprise

  63.    As the Owner of Xclusive, Defendant Astley formed an association-in-fact with Xclusive

  and all of its associated entities and subsidiaries, which shall be referred to as the “Astley

  Enterprise.”

  64.    The USDOL Wage and Hour Division found that Ms. Astley is “involved in the daily

  operations of [Xclusive].”


                                                   11
Case 1:16-cv-00671-RM-NRN Document 1 Filed 03/22/16 USDC Colorado Page 12 of 31




  65.     Ms. Astley owns and operates 100 percent of Xclusive and all of its associated entities

  and subsidiaries.

  66.     In conducting their illegal racketeering scheme, the enterprise acted with the common

  purpose of violating state and federal wage and hour laws, and thus paying its employees less

  than legally required in order to capture more revenue and profit from the contracts with

  Xclusive’s clients and more market share from its competitors in the temporary labor market.

  67.     Because of her sole ownership of Xclusive, Defendant Astley has personally profited

  from the fraudulent scheme through Xclusive’s increased profits resulting from the racketeering.

        B. Wire And Mail Fraud Schemes And Their Resulting Harm To Plaintiff And The
           Class

  68.     The Astley Enterprise engaged in three interrelated wire fraud schemes: (1) the USDOL

  scheme, (2) the website scheme, and (3) the electronic timekeeping scheme.

  69.     Both on their own and together, these schemes comprise patterns of racketeering activity.

             i.   The USDOL Scheme

  70.     In a 2012 investigation by the USDOL Wage and Hour Divisions Denver District Office

  of Xclusive’s operations at the Grand Hyatt, Denver, the USDOL found an illegal policy of

  automatic 30 minute deductions for lunch. As part of that investigation, Ms. Astley met with the

  USDOL Investigator on June 27, 2012 and was told that “the employer failed to count missed

  lunched breaks.” According to the USDOL, at this meeting, Ms. Astley “agreed to comply by

  making sure that all employees are paid at time and one-half the employee’s regular-rate of pay

  after 40 hours in a workweek and by making sure that the Grand Hyatt and Xclusive compensate

  employees for all their hours worked.” Ms. Astley blamed Xclusive’s client – Grand Hyatt – for

  the practice.

                                                  12
Case 1:16-cv-00671-RM-NRN Document 1 Filed 03/22/16 USDC Colorado Page 13 of 31




  71.    Despite Ms. Astley’s attempt to blame Grand Hyatt, the investigator damningly found

  that Xclusive “employees have missed lunch breaks that Grand Hyatt employees did not have.”

  That is, Grand Hyatt was only deducting time for lunch breaks for its non-Xclusive employees

  when the breaks actually taken, while Xclusive was deducting time for lunch breaks regardless

  of whether the breaks were taken.

  72.    In 2014, the USDOL found Xclusive automatically deducting lunch breaks at another

  hotel. At the close of the investigation there was a 2/24/2014 meeting at the Denver District

  Office of the USDOL Wage and Hour Division with Ms. Astley. According to the USDOL, “Ms.

  Astley stated that Xclusive never automatically deducted lunches.” After the investigator showed

  Ms. Astley records showing that every employee was off the clock from exactly 12:00pm to

  12:30pm, Ms. Astley again blamed Xclusive’s client – this time Hampton Inn & Suites – for the

  practice.

  73.    The automatic lunch break deductions, and their result of illegally paying employees,

  were the result of an intentional pay practice of the Astley Enterprise and Ms. Astley’s

  statements to the contrary to the USDOL were fraudulent because she knew or should have

  known about these practices.

  74.    Moreover, despite Ms. Astley’s promises to the USDOL, these practices continued after

  the USDOL investigations. Mr. Valverde experienced automatic lunch deductions at each hotel

  where he worked for Xclusive, including the workweek encompassed by the paystub attached as

  Exhibit 2.




                                                  13
Case 1:16-cv-00671-RM-NRN Document 1 Filed 03/22/16 USDC Colorado Page 14 of 31




  75.    The USDOL relied on Ms. Astley’s fraudulent promises regarding the meal deductions in

  deciding its dispositions and the Plaintiff and those similarly situated were harmed because, as a

  result of the fraud, Xclusive was able to continue its illegal pay policies.

  76.    The Astley Enterprise used the mail and wires in furtherance of the fraudulent scheme by

  using them to transmit the fraudulent pay records and checks. The Astley Enterprise uses the

  mail and wires each week, including the week encompassed by the paystub attached as Exhibit 2,

  to send time records to its corporate office in Westminster, Colorado and to send the resulting

  pay checks back to its branch offices.

  77.    In the 2012 USDOL investigation of Xclusive in Denver, the USDOL found that

  Xclusive “routinely faxes/emails timesheets and new-hire paperwork from branch offices

  (located in other states) to the corporate office and the corporate office sends payroll checks by

  FedEx to the branch offices weekly.”

  78.    The Astley Enterprise communicated with the USDOL Wage and Hour Division by wire

  and or mail during the course of investigations by the USDOL into Xclusive’s wage-payment

  practices. Ms. Astley is listed as a contact by the USDOL for Xclusive in the documents related

  to these investigations, along with her phone number, cell phone number, fax number, and email

  address.

  79.    Specifically, the Astley Enterprise continually and repeatedly made material and false

  representations to the USDOL Wage and Hour Division after investigations by that agency found

  violations of wage and hour laws.

  80.    The Enterprise also continually and repeatedly defrauded its clients by promising full

  compliance with federal and state wage and hour law, while repeatedly being found in violation


                                                    14
Case 1:16-cv-00671-RM-NRN Document 1 Filed 03/22/16 USDC Colorado Page 15 of 31




  of these laws. Moreover, many of these repeated violations stemmed from the implementation of

  identical illegal policies.

  81.     The Asltey Enterprise made these fraudulent statements despite knowingly and

  intentionally implementing policies that violated state and federal wage and hour laws.

               ii.   The Website Scheme

  82.     As detailed supra, the Astley Enterprise uses the internet to fraudulently advertise its

  compliance with state and federal minimum wage laws.

  83.     Specifically, Xclusive’s website currently advertises that Xclusive “exceed[s] industry

  standards” in complying with “federal, state and local laws.”

  84.     From at least 8/2/2010 to 3/6/2015, Xclusive's website claimed "[c]ompliance with all

  federal, state and local labor laws" in advertising "Why Xclusive Staffing?" to potential clients.

  85.     Not only does this knowingly and intentionally false assurance allow Xclusive to recruit

  employees, it also serves to reassure current and potential clients who confront the risk of being

  held jointly and severally liable for Xclusive’s wage-and-hour violations.

  86.     Because of the false assurances made by the Astley Enterprise over Xclusive’s website,

  clients are more likely to contract with Xclusive, allowing Xclusive to maintain its illegal pay

  policies.

              iii.   The Electronic Timekeeping Scheme

  87.     Xclusive maintains records of employee work hours for its various clients on online

  electronic time keeping systems, including its proprietary platform, StaffTraxs.com, and a third

  party platform, WorkRecords.com.




                                                   15
Case 1:16-cv-00671-RM-NRN Document 1 Filed 03/22/16 USDC Colorado Page 16 of 31




  88.    Xclusive is currently advertising for Property Managers on its website that will manage

  their employees at client locations. The Property Managers must be able to “[m]anage all

  timekeeping systems including but not limited to manual timesheets, StafftraXS and

  WorkRecords.”

  89.    On its online “Client Center,” Xclusive provides a link to its StaffTraxs.com system

  where a client can go if it is “[l]ooking to view [its] employees [sic] hours.” StraffTraxs.com

  provides Justin Astley’s name and phone number as a technical support contact. Justin Astley is

  a vice president at Xclusive.

  90.    Until at least March 2, 2015, the Xclusive website advertised StaffTraXS to its clients as

  follows: “Xclusive Staffing is pleased to offer our clients the easiest and most user-friendly

  timekeeping solution in the industry. Designed in house, StafftraXS is built specifically for the

  needs of the hospitality industry making it far superior to other options available. StafftraXS is

  indicative of Xclusive’s commitment to leading the industry and making our client’s jobs easier

  everyday.”

  91.    In a different wage and hour action against Xclusive in the District of Colorado different

  Plaintiffs, who were former Xclusive employees, filed an amended complaint with

  WorkRecords.com time sheets for Xclusive Workers at the Omni Interlocken attached as

  Exhibits. See Cota Martinez et al v. Xclusive Management LLC et al., 15-cv-00047 (D. Colo.),

  ECF Docs. 39-6, 39-8, & 39-10. The WorkRecords time sheets reflect the automatic 30 minute

  deduction policy and are incorporated here by reference.




                                                   16
Case 1:16-cv-00671-RM-NRN Document 1 Filed 03/22/16 USDC Colorado Page 17 of 31




  92.    Both Xclusive and its clients have access to, and use, these platforms and therefore the

  Astley Enterprise uses these online platforms to make repeated, intentionally-false statements

  over the wires regarding employee work hours.

  93.    In particular, as alleged elsewhere, Xclusive’s records for employee work hours

  consistently report 30-minute breaks that employees rarely take, notwithstanding that Xclusive

  and Defendant Astley know that this practice violates wage-and-hour laws.

  94.    By underreporting employee work hours to clients over the wires, the Astley Enterprise

  engages in repeated acts of wire fraud that harm class members by enabling Xclusive to charge

  clients less than it would if it truthfully recorded and reported work hours or by enabling

  Xclusive to retain the profits that would otherwise flow to employees if it truthfully recorded and

  reported work hours.

  95.    An example of repeated wire fraud injuring Mr. Valverde is the use of WorkRecords.com

  to fraudulently report Mr. Valverde’s time while he worked at the Omni Interlocken, including

  during workweek described by Exhibit 2.

                                RULE 23 CLASS ALLEGATIONS

  96.    The Plaintiff incorporates by reference all previous paragraphs of this Complaint as if

  fully re-written herein.

  97.    The Plaintiff asserts their Counts I, III, and IV as Fed R. Civ P. 23 class action on his

  own behalf and on behalf of classes for which he seeks certification.

  98.    Pending any modifications necessitated by discovery, the Plaintiff preliminarily defines a

  the “Rule 23 RICO Class” as follows:




                                                  17
Case 1:16-cv-00671-RM-NRN Document 1 Filed 03/22/16 USDC Colorado Page 18 of 31




                ALL CURRENT AND FORMER HOURLY EMPLOYEES OF
                XCLUSIVE STAFFING, INC., OR ONE OF ITS SUBSIDIARES,
                THAT WORKED AT A CLIENT LOCATION

  99.    Pending any modifications necessitated by discovery, the Plaintiff preliminarily defines

  the “Rule 23 Wage Class” as follows:

                ALL CURRENT AND FORMER HOURLY EMPLOYEES OF
                XCLUSIVE STAFFING, INC., OR ONE OF ITS SUBSIDIARES
                THAT WORKED AT A CLIENT LOCATION AND WORKED
                IN EXCESS OF 40 HOURS IN A WEEK

  100.   Pending any modifications necessitated by discovery, the Plaintiff preliminarily defines a

  sub-class to the Rule 23 Wage Class (the “Omni Sub-Class”) as follows:

                ALL CURRENT AND FORMER HOURLY EMPLOYEES OF
                XCLUSIVE STAFFING, INC., OR ONE OF ITS SUBSIDIARES,
                THAT WORKED AT THE OMNI INTERLOCKEN HOTEL (500
                INTERLOCKEN BLVD, BROOMFIELD, CO 80021) AND
                WORKED IN EXCESS OF 40 HOURS IN A WEEK

  101.   Pending any modifications necessitated by discovery, the Plaintiff preliminarily defines a

  sub-class to the Rule 23 Wage Class (the “Hyatt Sub-Class”) as follows:

                ALL CURRENT AND FORMER HOURLY EMPLOYEES OF
                XCLUSIVE STAFFING, INC., OR ONE OF ITS SUBSIDIARES,
                THAT WORKED AT THE HYATT DENVER TECH CENTER
                HOTEL (7800 E TUFTS AVE, DENVER, CO 80237) AND
                WORKED IN EXCESS OF 40 HOURS IN A WEEK

  102.   Pending any modifications necessitated by discovery, the Plaintiff preliminarily defines a

  sub-class to the Rule 23 Wage Class (the “Marriott Sub-Class”) as follows:

                ALL CURRENT AND FORMER HOURLY EMPLOYEES OF
                XCLUSIVE STAFFING, INC., OR ONE OF ITS SUBSIDIARES,
                THAT WORKED AT THE MARRIOTT DENVER TECH
                CENTER HOTEL (4900 S. SYRACUSE STREET DENVER,
                COLORADO 80237) AND WORKED IN EXCESS OF 40
                HOURS IN A WEEK


                                                 18
Case 1:16-cv-00671-RM-NRN Document 1 Filed 03/22/16 USDC Colorado Page 19 of 31




  103.   The classes are so numerous that joinder of all potential class members is impracticable.

  The Plaintiff does not know the exact size of the classes since that information is within the

  control of Defendants. However the Plaintiff estimates that, based on the size of Xclusive’s

  operations, the classes are composed of well over 1000 persons and each sub-class is composed

  of over 50 persons. The exact size of the classes will be easily ascertainable from Defendants’

  records.

  104.   There are questions of law or fact common to the classes that predominate over any

  individual issues that might exist. Common questions of law and fact include: the Defendants’

  pay practices; the Defendants’ failure to pay employees all they are legally owed; the nature and

  extent of Defendant Astley’s fraud.

  105.   The class claims asserted by the Plaintiff are typical of the claims of all of the potential

  Class Members because they experienced the same or similar working conditions and pay

  practices as the Defendants’ other employees. A class action is superior to other available

  methods for the fair and efficient adjudication of this controversy because numerous identical

  lawsuits alleging similar or identical causes of action would not serve the interests of judicial

  economy. This is especially true in the case of low-wage, hourly, temporary workers, like the

  class members here, who are un-sophisticated, are unlikely to seek legal representation, cannot

  realistically navigate the legal system pro se, and whose small claims make it difficult to retain

  legal representation if they do seek it.

  106.   The Plaintiff will fairly and adequately protect and represent the interests of the class. He

  was Defendants’ employee and was the victim of the same violations of law as the other class

  members, including numerous violations of federal and state wage and hour laws.


                                                   19
Case 1:16-cv-00671-RM-NRN Document 1 Filed 03/22/16 USDC Colorado Page 20 of 31




  107.    The Plaintiff is represented by counsel experienced in litigation on behalf of low-wage

  workers and in wage and hour class actions.

  108.    The prosecution of separate actions by the individual potential class members would

  create a risk of inconsistent or varying adjudications with respect to individual potential class

  members that would establish incompatible standards of conduct for Defendants.

  109.    Each class member’s claim is relatively small. Thus, the interest of potential class

  members in individually controlling the prosecution or defense of separate actions is slight. In

  addition, public policy supports the broad remedial purposes of class actions in general and that

  the pertinent federal and state laws are appropriate vehicles to vindicate the rights of those

  employees with small claims as part of the larger class.

  110.    The Plaintiff is unaware of any members of the putative classes who are interested in

  presenting their claims in a separate action.

  111.    The Plaintiff is unaware of any pending litigation commenced by members of the classes

  concerning the instant controversy.

  112.    It is desirable to concentrate this litigation in this forum because all parties are domiciled

  in this jurisdiction, or are registered to do business in this jurisdiction.

  113.    This class action will not be difficult to manage due to the uniformity of claims among

  the class members and the susceptibility of wage claims to both class litigation and the use of

  representative testimony and representative documentary evidence.

  114.    The contours of the class will be easily defined by reference to the payroll documents

  Defendants were legally required to create and maintain. See 29 C.F.R. § 516 et seq.




                                                     20
Case 1:16-cv-00671-RM-NRN Document 1 Filed 03/22/16 USDC Colorado Page 21 of 31




                 29 U.S.C. § 216(B) COLLECTIVE ACTION ALLEGATIONS

  115.   The Plaintiff brings his FLSA claim as a collective action, pursuant to 29 U.S.C. §

  216(b), on behalf of himself and on behalf of all other similarly situated current and former

  employees of the Defendants.

  116.   Pending any modifications necessitated by discovery, the Plaintiff preliminarily defines

  the “216(b) National Class” as follows:

                 ALL CURRENT AND FORMER HOURLY EMPLOYEES OF
                 XCLUSIVE STAFFING, INC., OR ONE OF ITS SUBSIDIARES,
                 THAT WORKED AT ONE OF ITS CLIENTS’ LOCATIONS
                 AND WORKED IN EXCESS OF 40 HOURS IN A WEEK

  117.   Pending any modifications necessitated by discovery, the Plaintiff preliminarily defines

  the “216(b) Omni Sub-Class” as follows:

                 ALL CURRENT AND FORMER HOURLY EMPLOYEES OF
                 XCLUSIVE STAFFING, INC., OR ONE OF ITS SUBSIDIARES,
                 THAT WORKED AT THE OMNI INTERLOCKEN HOTEL (500
                 INTERLOCKEN BLVD, BROOMFIELD, CO 80021) AND
                 WORKED IN EXCESS OF 40 HOURS IN A WEEK

  118.   Pending any modifications necessitated by discovery, the Plaintiff preliminarily defines

  the “216(b) Hyatt Sub-Class” as follows:

                 ALL CURRENT AND FORMER HOURLY EMPLOYEES OF
                 XCLUSIVE STAFFING, INC., OR ONE OF ITS SUBSIDIARES,
                 THAT WORKED AT THE HYATT DENVER TECH CENTER
                 HOTEL (7800 E TUFTS AVE, DENVER, CO 80237) AND
                 WORKED IN EXCESS OF 40 HOURS IN A WEEK

  119.   Pending any modifications necessitated by discovery, the Plaintiff preliminarily defines

  the “216(b) Marriott Sub-Class” as follows:

                 ALL CURRENT AND FORMER HOURLY EMPLOYEES OF
                 XCLUSIVE STAFFING, INC., OR ONE OF ITS SUBSIDIARES,
                 THAT WORKED AT THE MARRIOTT DENVER TECH

                                                  21
Case 1:16-cv-00671-RM-NRN Document 1 Filed 03/22/16 USDC Colorado Page 22 of 31




                  CENTER HOTEL (4900 S. SYRACUSE STREET DENVER,
                  COLORADO 80237) AND WORKED IN EXCESS OF 40
                  HOURS IN A WEEK

  120.   All potential FLSA class members are similarly situated because, among other things,

  they were all hourly employees of Defendants and the members of the sub-classes were

  additionally all employed by Defendants. Moreover, all members of the class and sub-classes

  suffered from the same policies of Defendants, including:

             a.       Deductions for costs that are primarily for the benefit of the employer

                      (including the $3.00 weekly deduction for the cost of issuing a pay check);

                      and

             b.       The automatic 30 minute meal break deduction, regardless of whether the

                      employee worked during the 30 minutes.

                            COUNT I: CIVIL RICO, 18 U.S.C. 1964(C)

                     The Named Plaintiff and the Rule 23 RICO Class vs. Defendant Astley

  121.   The Plaintiff incorporates by reference all previous paragraphs of this Complaint.

  122.   As set forth above, Plaintiff asserts this count on his own behalf and on behalf of all those

  similarly situated pursuant to Fed. R. Civ. P. 23.

  123.   Defendant Astley violated RICO by violating 18 U.S.C. §§ 1962(c) and 1964(c).

  124.   Defendant Astley and the Astley Enterprise engaged in the fraudulent schemes, acts, and

  misrepresentations described above, which violate 18 U.S.C. § 1341 (mail fraud) and 18 U.S.C.

  § 1343 (wire fraud), and which constitute patterns of racketeering.

  125.   By conducting the Astley Enterprise through a pattern of racketeering, Defendant Astley

  injured the Plaintiff and those similarly situated.


                                                    22
Case 1:16-cv-00671-RM-NRN Document 1 Filed 03/22/16 USDC Colorado Page 23 of 31




  126.    Among other things, each of these RICO violations caused the Plaintiff and those

  similarly situated to suffer loss of past, current, and prospective wages.

  127.    As a result, the Plaintiff and those similarly situated suffered injuries and are entitled to

  treble damages, fees, and costs as set forth by law.

         COUNT II: THE FAIR LABOR STANDARDS ACT, 29 U.S.C. §§ 201 ET SEQ.

                    The Named Plaintiff and the 216(b) National Class against Xclusive,
                     Xclusive management, and Astley
                    The Named Plaintiff and the 216(b) Omni Subclass against Defendants
                     Omni Defendants, Xclusive, Xclusive management, Xclusive Colorado,
                     and Astley
                    The Named Plaintiff and the 216(b) Marriott Subclass against Defendants
                     Marriott, Xclusive, Xclusive management, Xclusive Colorado, and Astley
                    The Named Plaintiff and the 216(b) Hyatt Subclass against Defendants
                     Hyatt, Xclusive, Xclusive management, Xclusive Colorado, and Astley

  128.    The Plaintiff incorporates by reference all previous paragraphs of this Complaint.

  129.    The Plaintiff brings his FLSA claim as a collective action, pursuant to 29 U.S.C. §

  216(b), on behalf of himself and on behalf of all other similarly situated current and former

  employees of the Defendants.

  130.    Defendants Employed the Plaintiff and those similarly situated pursuant to the Fair Labor

  Standards Act.

  131.    Each of the Defendants are, or were members of, of an enterprise that had annual

  revenues in excess of $500,000 during the Plaintiff’s employment and had two or more

  employees that handled goods or materials that had been moved in or produced for interstate

  commerce. The Defendants were therefore an enterprise and/or enterprises engaged in commerce

  pursuant to 29 U.S.C. § 203(s)(1).




                                                    23
Case 1:16-cv-00671-RM-NRN Document 1 Filed 03/22/16 USDC Colorado Page 24 of 31




  132.   As employers of the Plaintiff and those similarly situated, the Defendants named in this

  claim were required to pay the Plaintiff and those similarly overtime pursuant to 29 U.S.C. § 207

  and failed to do so.

  133.   The failure to pay overtime was willful pursuant to 29 U.S.C. § 255(a).

  134.   The Plaintiff and those similarly situated are therefore entitled to the following pursuant

  to 29 U.S.C. § 216:

             i.         unpaid overtime;

             ii.        gap time for any work week in which overtime is owed;

             iii.       their regular rate for unpaid breaks;

             iv.        statutory liquidated damages;

             v.         reasonable attorney’s fees and costs.

  135.   As joint employers, Defendants are joint and severally liable to the Plaintiff and the

  216(b) class.

    COUNT III: FAILURE TO PAY STATUTORILY REQUIRED WAGES, INCLUDING
            OVERTIME UNDER, THE LAWS OF THE SEVERAL STATES

                       The Named Plaintiff and the Rule 23 Wage Class vs. Defendant Xclusive
                       The Named Plaintiff and the Rule Omni Subclass against Defendants
                        Omni Defendants, Xclusive and Xclusive Colorado
                       The Named Plaintiff and the Rule 23 Marriott Subclass against
                        Defendants Marriott, Xclusive and Xclusive Colorado.
                       The Named Plaintiff and the Rule 23 Hyatt Subclass against Defendants
                        Hyatt, Xclusive, and Xclusive Colorado

  136.   The Plaintiff incorporates by reference all previous paragraphs of his complaint.

  137.   The Plaintiff brings this claim for himself and on behalf of the Rule 23 Class and Sub-

  Classes.

  138.   The Defendants employed the Plaintiff and those similarly situated.

                                                      24
Case 1:16-cv-00671-RM-NRN Document 1 Filed 03/22/16 USDC Colorado Page 25 of 31




  139.   The Plaintiff and those similarly situated worked for the Defendants under an

  employment contract and the Defendants failed to pay them overtime pursuant to the relevant

  state statutes and regulations, including Colo. Rev. Stat. § 8-6-118 (Colorado), N.M. Stat. § 50-

  4-22, -26 (New Mexico), Kan. Stat. Ann. § 44-1204 (Kansas), Ind. Code § 22-2-2-4, (Indiana),

  Ky. Rev. Stat. Ann. § 337.285 (Kentucky), and Ohio Rev. Code § 4111.03. (Ohio).

  140.   By failing to pay for all hours worked, the Defendants also failed to pay all wages due

  under the hourly employment contracts and therefore violated the state wage payment statutes,

  including Colo. Rev. Stat. § 8-6-101 et seq.

  141.   The Plaintiff and those similarly situated are entitled to damages and, if applicable,

  attorneys’ fees.

   COUNT IV: CONTRACT AND, ALTERNATIVELY, EQUITY UNDER THE LAWS OF
                         THE SEVERAL STATES

                    The Named Plaintiff and the Rule 23 Wage Class vs. Defendant Xclusive
                    The Named Plaintiff and the Rule Omni Subclass against Defendants
                     Omni Defendants, Xclusive and Xclusive Colorado
                    The Named Plaintiff and the Rule 23 Marriott Subclass against
                     Defendants Marriott, Xclusive and Xclusive Colorado.
                    The Named Plaintiff and the Rule 23 Hyatt Subclass against Defendants
                     Hyatt, Xclusive, and Xclusive Colorado

  142.   Plaintiff incorporates by reference all previous paragraphs of this Complaint as if fully re-

  written herein.

  143.   As set forth above, the Plaintiff asserts this count on his own behalf and on behalf of all

  those similarly situated pursuant to Fed. R. Civ. P. 23.

  144.   Plaintiff and those similarly situated entered into hourly employment contracts with the

  Defendants.

  145.   The contracts promised payment of a fixed amount per hour worked.

                                                   25
Case 1:16-cv-00671-RM-NRN Document 1 Filed 03/22/16 USDC Colorado Page 26 of 31




  146.   The contracts also incorporated state and federal wage and hour laws.

  147.   The Defendants breached the contracts by, among other things, not compensating

  employees for all hours worked.

  148.   Plaintiff and those similarly situated suffered damages.

  149.   In the alternative, if the contracts fail, the Defendants are liable to Plaintiff and those

  similarly situated in quasi-contract, including promissory estoppel and unjust enrichment.

                                    DEMAND FOR JURY TRIAL

  150.   Plaintiff demands a trial by jury for all issues so triable.

                                       PRAYER FOR RELIEF

  151.   The Plaintiff respectfully requests an Order from this Court:

             c.      Certifying an opt-in class and sub-class pursuant to the FLSA, 29 U.S.C. §§

                     201 et seq.;

             d.      Certifying the Rule 23 class and sub-classes, naming the named Plaintiff class

                     representative, and naming Plaintiff’s counsel class counsel;

             e.      granting judgment in favor of Plaintiff and against all Defendants;

             f.      awarding the Plaintiff and the Rule 23 classes their actual damages and any

                     applicable statutory damages;

             g.      awarding the Plaintiff and those similarly situated damages and liquidated

                     damages under the FLSA;

             h.      awarding the Plaintiff and those similarly situated their costs;

             i.      awarding the Plaintiff and those similarly situated their attorneys’ fees;




                                                    26
Case 1:16-cv-00671-RM-NRN Document 1 Filed 03/22/16 USDC Colorado Page 27 of 31




           j.   awarding the Plaintiff and those similarly situated prejudgment and post-

                judgment interest, when allowable by law; and

           k.   granting such other relief as this Court deems just and proper.



                                          Respectfully Submitted,

                                          s/Alexander Hood
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                                             27
Case 1:16-cv-00671-RM-NRN Document 1 Filed 03/22/16 USDC Colorado Page 28 of 31




                     EXHIBIT 1
Case 1:16-cv-00671-RM-NRN Document 1 Filed 03/22/16 USDC Colorado Page 29 of 31
Case 1:16-cv-00671-RM-NRN Document 1 Filed 03/22/16 USDC Colorado Page 30 of 31




                     EXHIBIT 2
Case 1:16-cv-00671-RM-NRN Document 1 Filed 03/22/16 USDC Colorado Page 31 of 31
